Case 5:10-cv-01686-EEF-MLH Document17-1 Filed 03/04/11 Page 1 of 4 PagelD#: 225

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
SHREVEPORT DIVISION
WUELLNER OIL & GAS, INC., CIVIL ACTION NO. 10-1686
MARSHALL OIL & GAS, INC.,

TEXAS GAS DEVELOPMENT, L.P.,
AND JARRATT ENTERPRISES, L.L.C.

VERSUS JUDGE FOOTE
ENCANA OIL & GAS (USA) INC. MAGISTRATE HORNSBY
FIRST AMENDED ANSWER

 

NOW INTO COURT, through undersigned counsel, comes defendant ENCANA
OIL & GAS (USA) INC., which amends its answer to the plaintiffs’ original petition as
follows:
I.
EnCana Oil & Gas (USA) Inc. (“EnCana”) amends paragraphs 8 and 14 of its
answer to the plaintiffs’ original petition as follows:
8.
The allegations of paragraph 8 of plaintiffs’ original
petition are denied, except to admit that “Exhibit D” (the Will-
Dril/Pride Oil & Gas Properties, Inc. (“Pride Oil’)
Assignment) to the plaintiffs’ original petition is the best
evidence of its contents and that insofar as the Will-
Drill/Pride Oil Assignment is concerned, Pride Oil was acting
as EnCana’s agent.

14.

The allegations of paragraph 14 of plaintiffs’ original
Case 5:10-cv-01686-EEF-MLH Document17-1 Filed 03/04/11 Page 2 of 4 PagelD#: 226

petition are denied, except to admit that “Exhibit G” (the
Pride Oil/EnCana Oil & Gas (USA) Inc. Assignment) to the
plaintiffs’ original petition is the best evidence of its contents
and that insofar as the Will-Drill/Pride Oil Assignment is
concerned, Pride Oil was acting as EnCana’s agent.
Il.
EnCana reiterates and realleges all other denials, defenses, and responses to
the allegations of plaintiffs’ original petition as if same were set forth verbatim herein.
WHEREFORE, APPEARER PRAYS that the above and foregoing first amended
answer to the plaintiffs’ original petition be deemed good and sufficient and that, after

due proceedings be had, there be judgment herein dismissing plaintiffs’ claims at their

sole cost and for all general and equitable relief,
Case 5:10-cv-01686-EEF-MLH Document17-1 Filed 03/04/11 Page 3 of 4 PagelD#: 227

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ATTORNEYS FOR ENCANA OIL
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Case 5:10-cv-01686-EEF-MLH Document17-1 Filed 03/04/11 Page 4 of 4 PagelD#: 228

CERTIFICATE
| HEREBY CERTIFY that a copy of the above and foregoing was filed with the United
States District Court for the Western District of Louisiana by electronic case filing/case
management and that a copy of the same was served on opposing counsel by either
_ electronic notification or by U.S. mail, postage pre-paid.

Shreveport, Louisiana, this 4th day of March, 2011.

s/ John T. Kalmbach
OF COUNSEL
